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                                                                      APPEAL,TYPE I−FOIA
                               U.S. District Court
                    District of Columbia (Washington, DC)
              CIVIL DOCKET FOR CASE #: 1:19−cv−01552−ABJ

CITIZENS FOR RESPONSIBILITY AND ETHICS IN           Date Filed: 05/28/2019
WASHINGTON v. U.S. DEPARTMENT OF JUSTICE            Jury Demand: None
Assigned to: Judge Amy Berman Jackson               Nature of Suit: 895 Freedom of
Cause: 05:552 Freedom of Information Act            Information Act
                                                    Jurisdiction: U.S. Government Defendant
Plaintiff
CITIZENS FOR RESPONSIBILITY           represented by Anne L. Weismann
AND ETHICS IN WASHINGTON                             5335 Wisconsin Avenue, NW
                                                     Suite 640
                                                     Washington, DC 20015
                                                     (301) 717−6610
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                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Conor M. Shaw
                                                     CITIZENS FOR RESPONSIBILITY
                                                     AND ETHICS IN WASHINGTON
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V.
Defendant
U.S. DEPARTMENT OF JUSTICE            represented by Elizabeth J. Shapiro
                                                     U.S. DEPARTMENT OF JUSTICE
                                                     Civil Division, Federal Programs Branch
                                                     1100 L Street, NW
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                                                     Email: Elizabeth.Shapiro@usdoj.gov
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                                                     Julie Straus Harris
                                                     U.S. DEPARTMENT OF JUSTICE


                                                                                               1
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                                                           ATTORNEY TO BE NOTICED


Date Filed   #   Page Docket Text
05/28/2019   1        COMPLAINT against U.S. DEPARTMENT OF JUSTICE ( Filing fee $ 400
                      receipt number 0090−6147874) filed by CITIZENS FOR RESPONSIBILITY
                      AND ETHICS IN WASHINGTON. (Attachments: # 1 Civil Cover Sheet, # 2
                      Summons Department of Justice, # 3 Summons U.S. Attorney, # 4 Summons
                      Attorney General)(Weismann, Anne) (Entered: 05/28/2019)
05/28/2019   2        LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and
                      Financial Interests by CITIZENS FOR RESPONSIBILITY AND ETHICS IN
                      WASHINGTON (Weismann, Anne) (Entered: 05/28/2019)
05/31/2019            Case Assigned to Judge Amy Berman Jackson. (zef, ) (Entered: 05/31/2019)
05/31/2019   3        SUMMONS (3) Issued Electronically as to U.S. DEPARTMENT OF JUSTICE,
                      U.S. Attorney and U.S. Attorney General. (Attachments: # 1 Notice and
                      Consent)(zef, ) (Entered: 05/31/2019)
06/12/2019   4        RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                      U.S. DEPARTMENT OF JUSTICE served on 6/7/2019, RETURN OF
                      SERVICE/AFFIDAVIT of Summons and Complaint Executed on United States
                      Attorney General. Date of Service Upon United States Attorney General 6/7/19.,
                      RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as
                      to the United States Attorney. Date of Service Upon United States Attorney on
                      6/7/2019. ( Answer due for ALL FEDERAL DEFENDANTS by 7/7/2019.)
                      (Weismann, Anne) (Entered: 06/12/2019)
07/08/2019   5        Partial MOTION to Dismiss by U.S. DEPARTMENT OF JUSTICE
                      (Attachments: # 1 Memorandum in Support, # 2 Exhibit 1, # 3 Exhibit 2, # 4
                      Exhibit 3, # 5 Text of Proposed Order)(Straus Harris, Julie) (Entered:
                      07/08/2019)
07/19/2019   6        Memorandum in opposition to re 5 Partial MOTION to Dismiss filed by
                      CITIZENS FOR RESPONSIBILITY AND ETHICS IN WASHINGTON.
                      (Attachments: # 1 Text of Proposed Order)(Weismann, Anne) (Entered:
                      07/19/2019)
07/23/2019   7        Unopposed MOTION for Extension of Time to File Response/Reply as to 5
                      Partial MOTION to Dismiss by U.S. DEPARTMENT OF JUSTICE
                      (Attachments: # 1 Text of Proposed Order)(Straus Harris, Julie) (Entered:
                      07/23/2019)
07/25/2019            MINUTE ORDER granting 7 Defendant's Unopposed Motion for an Extension
                      of Time. It is ORDERED that defendant shall file its reply in support of
                      Defendant's Partial Motion to Dismiss by August 2, 2019. Signed by Judge Amy


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                   Berman Jackson on 7/25/19. (DMK) (Entered: 07/25/2019)
08/02/2019    8    REPLY to opposition to motion re 5 Partial MOTION to Dismiss filed by U.S.
                   DEPARTMENT OF JUSTICE. (Straus Harris, Julie) (Entered: 08/02/2019)
01/31/2020    9    ORDER. Pursuant to Federal Rules of Civil Procedure 12 and 58, and for the
                   reasons stated in the accompanying Memorandum Opinion, it is hereby
                   ORDERED that defendant's Partial Motion to Dismiss 5 is DENIED. SO
                   ORDERED. Signed by Judge Amy Berman Jackson on 1/31/2020. (lcabj3)
                   (Entered: 01/31/2020)
01/31/2020   10    MEMORANDUM OPINION. Signed by Judge Amy Berman Jackson on
                   1/31/2020. (lcabj3) (Entered: 01/31/2020)
02/14/2020   11    ANSWER to Complaint by U.S. DEPARTMENT OF JUSTICE.(Straus Harris,
                   Julie) (Entered: 02/14/2020)
02/20/2020         MINUTE ORDER. Before the Court in this FOIA case are a complaint and an
                   answer. The requirements of Local Civil Rule 16.3 and Rule 26(f) of the Federal
                   Rules of Civil Procedure appear to be inapplicable. Defendant shall file a
                   dispositive motion or, in the alternative, a report setting forth the schedule for
                   the completion of its production of documents to plaintiff, on or before March
                   20, 2020.SO ORDERED. Signed by Judge Amy Berman Jackson on 2/20/2020.
                   (lcabj3) (Entered: 02/20/2020)
02/21/2020         Set/Reset Deadlines: Defendant shall file a dispositive motion or, in the
                   alternative, a report setting forth the schedule for the completion of its
                   production of documents to plaintiff, on or before 3/20/2020. (jth) (Entered:
                   02/21/2020)
03/20/2020   12    Joint STATUS REPORT by U.S. DEPARTMENT OF JUSTICE. (Straus Harris,
                   Julie) (Entered: 03/20/2020)
03/20/2020         MINUTE ORDER. In light of the parties' 12 joint status report, the parties must
                   submit another status report by June 5, 2020. SO ORDERED. Signed by Judge
                   Amy Berman Jackson on 3/20/2020. (lcabj3) (Entered: 03/20/2020)
06/05/2020   13    Joint STATUS REPORT by U.S. DEPARTMENT OF JUSTICE. (Straus Harris,
                   Julie) (Entered: 06/05/2020)
06/09/2020         MINUTE ORDER. In light of the parties' 13 joint status report, the parties must
                   file another status report by June 24, 2020. SO ORDERED. Signed by Judge
                   Amy Berman Jackson on 6/9/2020. (lcabj3) (Entered: 06/09/2020)
06/24/2020   14    Joint STATUS REPORT and Proposed Scheduling Order by U.S.
                   DEPARTMENT OF JUSTICE. (Attachments: # 1 Text of Proposed
                   Order)(Straus Harris, Julie) (Entered: 06/24/2020)
07/02/2020         MINUTE ORDER. In light of the parties' 14 joint status report, it is ORDERED
                   that: 1) defendant's motion for summary judgment must be submitted by August
                   12, 2020; plaintiff's cross−motion and opposition must be submitted by
                   September 2, 2020; defendant's cross−opposition and reply must be submitted
                   by September 23, 2020; and plaintiff's cross−reply must be submitted by
                   October 7, 2020. SO ORDERED. Signed by Judge Amy Berman Jackson on
                   7/2/2020. (lcabj3) (Entered: 07/02/2020)



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07/02/2020         Set/Reset Deadlines: Summary judgment motion due by 8/12/2020;
                   cross−motion and opposition to motion for summary judgment due by 9/2/2020;
                   opposition to cross−motion and reply to opposition to motion for summary
                   judgment due by 9/23/2020; reply to opposition to cross−motion due by
                   10/7/2020. (ztg) (Entered: 07/02/2020)
08/12/2020   15    MOTION for Summary Judgment , MOTION to Dismiss for Lack of
                   Jurisdiction (Renewed) by U.S. DEPARTMENT OF JUSTICE (Attachments: #
                   1 Statement of Facts, # 2 Memorandum in Support, # 3 Declaration of Paul P.
                   Colborn (with exhibits), # 4 Declaration of Vanessa R. Brinkmann (with
                   exhibit), # 5 Text of Proposed Order)(Straus Harris, Julie) (Entered: 08/12/2020)
09/02/2020   16    Memorandum in opposition to re 15 MOTION for Summary Judgment
                   MOTION to Dismiss for Lack of Jurisdiction (Renewed) filed by CITIZENS
                   FOR RESPONSIBILITY AND ETHICS IN WASHINGTON. (Attachments: # 1
                   Exhibit A, # 2 Statement of Facts, # 3 Text of Proposed Order)(Weismann,
                   Anne) (Entered: 09/02/2020)
09/02/2020   17    Cross MOTION for Summary Judgment by CITIZENS FOR
                   RESPONSIBILITY AND ETHICS IN WASHINGTON (Attachments: # 1
                   Memorandum in Support, # 2 Exhibit A, # 3 Statement of Facts, # 4 Text of
                   Proposed Order)(Weismann, Anne) (Entered: 09/02/2020)
09/03/2020   18    Consent MOTION for Extension of Time to File Response/Reply as to 15
                   MOTION for Summary Judgment MOTION to Dismiss for Lack of Jurisdiction
                   (Renewed), 17 Cross MOTION for Summary Judgment by U.S.
                   DEPARTMENT OF JUSTICE (Attachments: # 1 Text of Proposed
                   Order)(Straus Harris, Julie) (Entered: 09/03/2020)
09/08/2020         MINUTE ORDER. In light of defendant's 18 Agreed Motion for an
                   Enlargement of Time, it is ORDERED that defendant must file its opposition to
                   plaintiff's cross−motion for summary judgment and reply in support of its
                   motion for summary judgment by October 7, 2020, and plaintiff must file its
                   reply in support of its cross−motion by October 21, 2020. SO ORDERED.
                   Signed by Judge Amy Berman Jackson on 9/8/2020. (lcabj3) (Entered:
                   09/08/2020)
10/07/2020   19    Memorandum in opposition to re 17 Cross MOTION for Summary Judgment
                   filed by U.S. DEPARTMENT OF JUSTICE. (Attachments: # 1 Declaration
                   (Second) of Paul P. Colborn, # 2 Defendant's Response to Plaintiff's Statement
                   of Material Facts Not in Dispute)(Straus Harris, Julie) (Entered: 10/07/2020)
10/07/2020   20    REPLY to opposition to motion re 15 MOTION for Summary Judgment
                   MOTION to Dismiss for Lack of Jurisdiction (Renewed) filed by U.S.
                   DEPARTMENT OF JUSTICE. (Attachments: # 1 Declaration (Second) of Paul
                   P. Colborn)(Straus Harris, Julie) (Entered: 10/07/2020)
10/20/2020   21    REPLY to opposition to motion re 17 Cross MOTION for Summary Judgment
                   filed by CITIZENS FOR RESPONSIBILITY AND ETHICS IN
                   WASHINGTON. (Weismann, Anne) (Entered: 10/20/2020)
03/01/2021         MINUTE ORDER. In order to assist the Court in making a responsible de novo
                   determination, defendant is directed to deliver to chambers for in camera
                   inspection, on or before March 8, 2021, the documents that remain in dispute in
                   this case, specifically, the documents designated as Documents 6 (undated,


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                   untitled draft memorandum mentioned in the Colborn Declaration [15−3]) and
                   15 (March 24, 2019 Memorandum, found in redacted form as part of Exhibit A
                   to the Brinkmann Declaration [15−4]). See Ray v. Turner, 587 F.2d 1187, 1195
                   (D.C. Cir. 1978). Signed by Judge Amy Berman Jackson on 3/1/21. (lcabj2)
                   (Entered: 03/01/2021)
03/08/2021   22    NOTICE OF DELIVERY FOR IN CAMERA, EX PARTE INSPECTION by U.S.
                   DEPARTMENT OF JUSTICE re Order,,, Set Deadlines,, (Straus Harris, Julie)
                   (Entered: 03/08/2021)
05/03/2021   26    ORDER. It is ORDERED that defendant's 15 motion for summary judgment is
                   GRANTED IN PART AND DENIED IN PART, and plaintiff's 17 cross motion
                   for summary judgment is DENIED IN PART AND GRANTED IN PART.
                   Judgment is entered in favor of defendant on Count One with respect to
                   Document 6, and defendant must produce Document 15 to plaintiff. It is
                   FURTHER ORDERED that defendant's 15 renewed motion to dismiss Count
                   Two is GRANTED. Defendant must file any motion to stay by May 17, 2021,
                   and it must inform the Court at that time of its position on whether the
                   memorandum opinion can be unsealed in its entirety. See order for details.
                   Signed by Judge Amy Berman Jackson on 5/3/21. (lcabj2) (Entered:
                   05/03/2021)
05/03/2021   27    REDACTED − PUBLIC MEMORANDUM OPINION. Signed by Judge Amy
                   Berman Jackson on 5/3/21. (lcabj2) (Main Document 27 replaced on 5/4/2021)
                   (ztnr). (Entered: 05/03/2021)
05/13/2021   28    NOTICE of Appearance by Conor M. Shaw on behalf of CITIZENS FOR
                   RESPONSIBILITY AND ETHICS IN WASHINGTON (Shaw, Conor)
                   (Entered: 05/13/2021)
05/14/2021   29    NOTICE of Appearance by Elizabeth J. Shapiro on behalf of U.S.
                   DEPARTMENT OF JUSTICE (Shapiro, Elizabeth) (Entered: 05/14/2021)
05/14/2021   30    MOTION for Extension of Time to Respond to Court Order by U.S.
                   DEPARTMENT OF JUSTICE. (Attachments: # 1 Text of Proposed
                   Order)(Shapiro, Elizabeth) (Entered: 05/14/2021)
05/14/2021         MINUTE ORDER granting defendant's 30 motion for extension of time. It is
                   ORDERED that defendant must file any motion to stay by May 24, 2021.
                   Signed by Judge Amy Berman Jackson on 5/14/21. (lcabj2) (Entered:
                   05/14/2021)
05/24/2021   31    NOTICE OF APPEAL TO DC CIRCUIT COURT as to 27 Memorandum &
                   Opinion, 26 Order on Motion for Summary Judgment,,, Order on Motion to
                   Dismiss/Lack of Jurisdiction,,,,,, Set/Reset Deadlines,, by U.S. DEPARTMENT
                   OF JUSTICE. Fee Status: No Fee Paid. Parties have been notified. (Straus
                   Harris, Julie) (Entered: 05/24/2021)
05/24/2021   32    MOTION to Stay re 26 Order on Motion for Summary Judgment,,, Order on
                   Motion to Dismiss/Lack of Jurisdiction,,,,,, Set/Reset Deadlines,,
                   DEFENDANTS MOTION FOR A PARTIAL STAY PENDING APPEAL AND
                   MEMORANDUM IN SUPPORT by U.S. DEPARTMENT OF JUSTICE.
                   (Attachments: # 1 Exhibit A)(Straus Harris, Julie) (Entered: 05/24/2021)




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CITIZENS FOR RESPONSIBILITY AND
ETHICS IN WASHINGTON,

               Plaintiff,
                                                 Case No. 1:19-cv-1552 (ABJ)
   v.

U.S. DEPARTMENT OF JUSTICE,

               Defendant.


                                   NOTICE OF APPEAL

        Defendant the United States Department of Justice hereby appeals to the United States

Court of Appeals for the District of Columbia Circuit from this Court’s May 3, 2021 Memorandum

Opinion [ECF Nos. 23, 27] and Order [ECF No. 26].



Dated: May 24, 2021                           Respectfully submitted,

                                              BRIAN D. NETTER
                                              Deputy Assistant Attorney General

                                              ELIZABETH J. SHAPIRO
                                              Deputy Director
                                              Civil Division, Federal Programs Branch

                                              /s/ Julie Straus Harris
                                              JULIE STRAUS HARRIS (DC Bar # 1021928)
                                              Senior Trial Counsel
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                                              Tel: (202) 353-7633
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                                              E-mail: julie.strausharris@usdoj.gov

                                              Counsel for Defendant




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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
CITIZENS FOR RESPONSIBILITY          )
AND ETHICS IN WASHINGTON,            )
                                     )
                  Plaintiff,         )
                                     )  Civil Action No. 19-1552 (ABJ)
      v.                             )         ***SEALED***
                                     )
U.S. DEPARTMENT OF JUSTICE,          )
                                     )
                  Defendant.         )
____________________________________)



                                 MEMORANDUM OPINION

       On Friday, March 22, 2019, Special Counsel Robert S. Mueller, III delivered his Report of

the Investigation into Russian Interference in the 2016 Presidential Election 1 to the then-Attorney

General of the United States, William P. Barr. 2

       But the Attorney General did not share it with anyone else.

       Instead, before the weekend was over, he sent a letter to congressional leaders purporting

to “summarize the principal conclusions” set out in the Report, compressing the approximately

200 highly detailed and painstakingly footnoted pages of Volume I – which discusses the Russian

government’s interference in the election and any links or coordination with the Trump campaign

– and the almost 200 equally detailed pages of Volume II – which concerns acts taken by then-


1     Report of the Investigation into Russian Interference in the 2016 Presidential Election
(“Mueller Report” or “Report”), Volume I, https://www.justice.gov/storage/report_volume1.pdf,
Volume II, https://www.justice.gov/storage/report_volume2.pdf (March 2019).

2       See Letter from William P. Barr, Attorney General, to Hon. Lindsey Graham,
Chairman, Committee on the Judiciary, United States Senate, et al. (Mar. 22, 2019),
https://www.justice.gov/archives/ag/page/file/1147986/download.




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President Trump in connection with the investigation – into less than four pages. 3 The letter

asserted that the Special Counsel “did not draw a conclusion – one way or the other – as to whether

the examined conduct constituted obstruction,” and it went on to announce the Attorney General’s

own opinion that “the evidence developed during the Special Counsel’s investigation is not

sufficient to establish that the President committed an obstruction-of-justice offense.” 4

       The President then declared himself to have been fully exonerated. 5

       The Attorney General’s characterization of what he’d hardly had time to skim, much less,

study closely, prompted an immediate reaction, as politicians and pundits took to their

microphones and Twitter feeds to decry what they feared was an attempt to hide the ball.




3       Letter from William P. Barr, Attorney General, to Hon. Lindsey Graham,
Chairman, Committee on the Judiciary, United States Senate, et al. (Mar. 24, 2019),
https://www.justice.gov/ag/page/file/1147981/download (“March 24 Letter”) at 2; see also id. at 3
(“The Special Counsel’s decision to describe the facts of his obstruction investigation without
reaching any legal conclusions leaves it to the Attorney General to determine whether the conduct
described in the report constitutes a crime.”).

4      March 24 Letter at 3.

5       Trump responds to Mueller report: ‘complete and total exoneration,’ Reuters Staff,
https://www.reuters.com/article/us-usa-trump-russia-tweet/trump-responds-to-mueller-report-
complete-and-total-exoneration-idUSKCN1R50U3 (Mar. 24, 2019, 4:57 pm) (quoting the
President’s tweet: “No Collusion, No Obstruction, Complete and Total EXONERATION. KEEP
AMERICA GREAT!”). This tweet is currently unavailable due to President Trump’s permanent
suspension from Twitter on January 8, 2021, see Permanent Suspension of @realDonaldTrump,
Twitter, Inc., https://blog.twitter.com/en_us/topics/company/2020/suspension.html (last visited
Apr. 28, 2021), and the National Archives and Records Administration is still working to make
the archival tweets available to the public. See Archived Social Media – Donald J. Trump
Presidential Library, National Archives, https://www.trumplibrary.gov/research/archived-social-
media (last updated Apr. 26, 2021).
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       Even the customarily taciturn Special Counsel was moved to pen an extraordinary public

rebuke on March 27:

                The summary letter the Department sent to Congress and released to the
                public late in the afternoon of March 24 did not fully capture the
                context, nature, and substance of this Office’s work and conclusions.
                We communicated that concern to the Department on the morning of
                March 25. There is now public confusion about critical aspects of the
                results of our investigation. This threatens to undermine a central purpose
                for which the Department appointed the Special Counsel: to assure full
                public confidence in the outcome of the investigations. 6

Mueller called for the immediate release of his report, id., but it remained under wraps for another

three weeks.

       On April 18, 2019, the Attorney General appeared before Congress to deliver the report. 7

He asserted that he and the Deputy Attorney General reached the conclusion he had announced in

the March 24 letter “in consultation with the Office of Legal Counsel and other Department

lawyers.” Id.

       Citizens for Responsibility and Ethics in Washington (“CREW”) immediately fired off a

Freedom of Information Act (“FOIA”) request for any records related to those consultations, but

the Department of Justice (“DOJ”) demurred on the grounds of the deliberative process and

attorney-client privileges. What remains at issue today is a memorandum to the Attorney General

dated March 24, 2019, that specifically addresses the subject matter of the letter transmitted to

Congress.



6     Letter from Robert S. Mueller, III, Special Counsel, to Hon. William P. Barr, Attorney
General of the United States (Mar. 27, 2019), available at https://apps.npr.org/
documents/document.html?id=5984399-Mueller-Letter-to-Barr (“March 27 Letter”).

7       Attorney General William P. Barr Delivers Remarks on the Release of the Report on the
Investigation into Russian Interference in the 2016 Presidential Election, DOJ Justice News
(Apr. 18, 2019), https://www.justice.gov/opa/speech/attorney-general-william-p-barr-delivers-
remarks-release-report-investigation-russian (“April 18 Remarks”).
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       It is time for the public to see that, too.



       CREW brought this action under the Freedom of Information Act (“FOIA”), 5 U.S.C.

§ 552, against the United States Department of Justice (“DOJ”), seeking the production of

documents that Attorney General Barr reviewed in advance of his public announcement

concerning the report transmitted to him by Special Counsel Mueller. Compl. [Dkt. # 1] ¶¶ 1–2.

The complaint contained two counts: the first alleged wrongful withholding of non-exempt

records, and the second requested a declaration from the Court, pursuant to the Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202, that DOJ violated FOIA by refusing to grant expedited

processing of its request. Id. ¶¶ 1, 23–24. 8

       CREW has accepted the bulk of the agency’s withholdings, but there are still two records

in dispute, and cross motions for summary judgment and defendant’s renewed motion to dismiss

Count Two are pending before the Court. Def.’s Mot. for Summ. J. and Mot. to Dismiss for Lack

of Jurisdiction [Dkt. # 15] (“Def.’s Mot.”); Pl.’s Mem. in Opp. to Mot. for Summ. J. and Renewed

Mot. to Dismiss [Dkt. # 16]; Pl.’s Cross Mot. for Summ. J. [Dkt. # 17] (“Pl.’s Cross Mot.”). With

respect to Count One, the motions address whether it was proper for defendant to withhold the two

records under FOIA Exemption 5. The Court finds that the record designated as Document 6 was

properly withheld, but it will order that Document 15 be produced. As to Count Two, the parties

dispute whether the claim about expedited processing is now moot, and the Court agrees with the

defendant and will dismiss that count.




8      On January 31, 2020, the Court denied defendant’s partial motion to dismiss Count Two.
See Order [Dkt. # 9].
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                         FACTUAL AND PROCEDURAL HISTORY

       CREW states that it is a “non-profit, non-partisan organization . . . committed to protecting

the rights of citizens to be informed about the activities of government officials and agencies.”

Compl. ¶ 4. The complaint alleges that on April 18, 2019, Attorney General Barr held a press

conference to announce the public release of the Report of the Special Counsel’s investigation into

Russian interference in the 2016 election and the potential obstruction of that investigation. Id.

¶ 13. During that conference, Attorney General Barr “stated ‘that the evidence developed by the

Special Counsel is not sufficient to establish that the President committed an obstruction-of-justice

offense.’” Id., quoting April 18 Remarks, supra footnote 7.

       Later that day, CREW submitted a FOIA request to DOJ’s Office of Legal Counsel

(“OLC”), seeking “all documents pertaining to the views OLC provided Attorney General Barr on

whether the evidence developed by Special Counsel Mueller is sufficient to establish that the

President committed an obstruction-of-justice offense.” Compl. ¶ 14.

       The defendant conducted the necessary search, and it identified sixty-one responsive

records, thirty-two of which it produced to plaintiff with partial redactions, and twenty-eight of

which it withheld in full pursuant to Exemption 5. Def.’s Mem. in Supp. of Mot. [Dkt. # 15-2]

(“Def.’s Mem.”) at 4–5. It referred one record to the Office of Information Policy (“OIP”), which

was later produced to plaintiff with redactions. Id. at 5. Two of the documents withheld in full

remain in dispute, and they are the subject of the parties’ cross motions for summary judgment.

See Def.’s Mot; Pl.’s Mot. Defendant’s motion is supported by the declaration of a Special

Counsel within OLC who supervises that office’s responses to the FOIA requests, see Decl. of

Paul P. Colborn [Dkt. # 15-3] (“Colborn Decl.”) ¶ 1, and the declaration of a Senior Counsel in




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the OIP, who has supervisory authority over the handling of FOIA requests that are subject to

litigation. See Decl. of Vanessa R. Brinkmann [Dkt. # 15-4] (“Brinkmann Decl.”) ¶ 1.

                                    LEGAL BACKGROUND

   I.      The Summary Judgment Standard

         Summary judgment is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). The party seeking summary judgment “bears the initial responsibility of informing

the district court of the basis for its motion, and identifying those portions of the pleadings,

depositions, answers to interrogatories, and admissions on file, together with the affidavits, if any,

which it believes demonstrate the absence of a genuine issue of material fact.” Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). To defeat summary judgment, the non-moving party must

“designate specific facts showing that there is a genuine issue for trial.” Id. at 324.

        The mere existence of a factual dispute is insufficient to preclude summary judgment.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). A dispute is “genuine” only if a

reasonable fact-finder could find for the non-moving party; a fact is “material” only if it is capable

of affecting the outcome of the litigation. Id. at 248; Laningham v. U.S. Navy, 813 F.2d 1236,

1241 (D.C. Cir. 1987). In assessing a party’s motion, the court must “view the facts and draw

reasonable inferences ‘in the light most favorable to the party opposing the summary judgment

motion.’” Scott v. Harris, 550 U.S. 372, 378 (2007) (alterations omitted), quoting United States

v. Diebold, Inc., 369 U.S. 654, 655 (1962) (per curiam).

        When the court is presented with cross-motions for summary judgment, it analyzes the

underlying facts and inferences in each party’s motion in the light most favorable to the

non-moving party. See Anderson, 477 U.S. at 247.



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   II.      The Freedom of Information Act

         The Freedom of Information Act (“FOIA”) compels government agencies to release

records upon request. 5 U.S.C. § 552. The act also authorizes agencies to withhold the requested

records if they can demonstrate that the record falls into one of nine specific exemptions. See id.

§ 552(b); Pub. Citizen, Inc. v. Off. of Mgmt. & Budget, 598 F.3d 865, 869 (D.C. Cir. 2010).

         Consistent with FOIA’s presumption in favor of disclosure, the exemptions are to be

construed narrowly, and the withholding agency bears the burden of showing that the claimed

exemption applies. Dep’t of Air Force v. Rose, 425 U.S. 352, 360–61 (1976); Loving v. Dep’t of

Defense, 550 F.3d 32, 37 (D.C. Cir. 2008). “[W]hen an agency seeks to withhold information, it

must provide ‘a relatively detailed justification, specifically identifying the reasons why a

particular exemption is relevant[.]’” Morley v. CIA, 508 F.3d 1108, 1122 (D.C. Cir. 2007), quoting

King v. U.S. Dep’t of Justice, 830 F.2d 210, 219 (D.C. Cir. 1987); see also Campbell v. U.S. Dep’t

of Just., 164 F.3d 20, 30 (D.C. Cir. 1998), as amended (Mar. 3, 1999) (“To justify summary

judgment, a declaration must provide detailed and specific information demonstrating that material

withheld is logically within the domain of the exemption claimed.”) (internal quotation omitted).

         When summary judgment turns upon the applicability of an exemption, the court must

“ascertain whether the agency has sustained its burden of demonstrating that the documents

requested . . . are exempted from disclosure.” Assassination Archives & Rsch. Cent. v. CIA,

334 F.3d 55, 57 (D.C. Cir. 2003). Moreover, pursuant to a 2016 amendment to the FOIA statute,

an agency may withhold information pursuant to an exemption only if it “reasonably foresees that

disclosure would harm an interest protected by” that exemption. 5 U.S.C. § 552(a)(8)(A). This

“reasonable foreseeability of harm” standard requires the withholding agency to provide “context

or insight into the specific decision-making processes or deliberations at issue, and how they



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in particular would be harmed by disclosure” of the contested records. Judicial Watch, Inc. v.

U.S. Dep’t of Justice, No. 17-0832 (CKK), 2019 WL 4644029, at *5 (D.D.C. Sept. 24, 2019).

       In a FOIA case, a court may grant summary judgment based on information provided in an

agency’s affidavits or declarations when they are “relatively detailed and non-conclusory[.]”

SafeCard Servs., Inc. v. SEC, 926 F.2d 1197, 1200 (D.C. Cir. 1991) (citation omitted). Federal Rule

of Civil Procedure 56(c) states that “[a]n affidavit or declaration used to support or oppose a motion

must be made on personal knowledge, set out facts that would be admissible in evidence, and show

that the affiant or declarant is competent to testify on the matters stated.” Fed. R. Civ. P. 56(c).

       The law recognizes that there are circumstances when an agency declaration may properly

include hearsay. The D.C. Circuit long ago recognized the validity of the affidavit of an individual

who supervised a search for records even though the affiant has not conducted the search himself

as sufficient for a declarant in a FOIA action. See Meeropol v. Meese, 790 F.2d 942, 951

(D.C. Cir. 1986); see also Barnard v. Dep’t of Homeland Sec., 531 F. Supp. 2d 131, 135

(D.D.C. 2008) (“Consistent with these requirements, hearsay in FOIA [search] declarations is

often permissible.”); Humane Soc’y of U.S. v. Animal & Plant Health Inspection Serv.,

386 F. Supp. 3d 34, 44 (D.D.C. 2019) (acknowledging that hearsay is permissible in justifying the

adequacy of the search.).

       But courts have not always found hearsay to be sufficient when it is offered to justify the

withholding of records based on an exemption. See Londrigan v. FBI, 670 F.2d 1164, 1174

(D.C. Cir. 1981) (district court’s grant of summary judgement reversed due to the affiant’s lack of

personal knowledge of the facts underlying the exemption and his reliance on hearsay); Judicial

Watch, Inc. v. U.S. Dep’t of Commerce, 224 F.R.D. 261, 264–65 (D.D.C. 2004) (court struck

portions of the agency FOIA Director’s declaration due to a lack of personal knowledge



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and impermissible hearsay). As the court observed in Humane Society, “[u]ltimately, it is the

Court, not the agency, that must be satisfied with the propriety of a claimed FOIA exemption.”

386 F. Supp. 3d at 44.

       Above all, though, it is essential that agency affidavits be accurate. “[S]ummary judgment

may be granted on the basis of agency affidavits” in FOIA cases, when those affidavits “contain

reasonable specificity of detail rather than merely conclusory statements,” and when “they are not

called into question by contradictory evidence in the record or by evidence of agency bad

faith.” Judicial Watch, Inc. v. U.S. Secret Serv., 726 F.3d 208, 215 (D.C. Cir. 2013), quoting

Consumer Fed’n of Am. v. Dep’t of Agric., 455 F.3d 283, 287 (D.C. Cir. 2006). As the D.C. Circuit

has emphasized, this Court should be able to depend on the accuracy of submissions that are

intended “to permit adequate adversary testing of the agency’s claimed right to an exemption.”

Nat’l Treasury Emps. Union v. U.S. Customs Serv., 802 F.2d 525, 527 (D.C. Cir. 1986) (citations

omitted); see Schiller v. NLRB, 964 F.2d 1205, 1209 (D.C. Cir. 1992), abrogated by Milner v.

Dep’t of Navy, 562 U.S. 562 (2011) (“FOIA litigation is not immune from our open, adversary

process . . . . We expect agencies to ensure that their submissions in FOIA cases are absolutely

accurate.”); see also Cause of Action Inst. v. Export-Import Bank of the U.S., No. 19-cv-1915

(JEB), 2021 WL 706612, at *14 (D.D.C. Feb. 23, 2021) (ordering disclosure of records when

“[e]ven the briefest in camera review reveals that [defendant’s] description is plainly overbroad

and . . . seemingly inaccurate, as their content has nothing to do with” the claimed exemption).

       Finally, when considering a motion for summary judgment under FOIA, the court must

conduct a de novo review of the record. See 5 U.S.C. § 552(a)(4)(B).




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    III.      FOIA Exemption 5

           Defendant withheld the two records in dispute in this case pursuant to FOIA Exemption 5,

which bars disclosure of “inter-agency or intra-agency memorandums or letters that would not be

available by law to a party other than an agency in litigation with the agency.” 5 U.S.C.

§ 552(b)(5).

           A document may be properly withheld under Exemption 5 if it satisfies “two conditions:

its source must be a [g]overnment agency, and it must fall within the ambit of a privilege against

discovery under judicial standards that would govern litigation against the agency that holds it.”

U.S. Dep’t of Interior v. Klamath Water Users Protective Ass’n, 532 U.S. 1, 8 (2001); see also

Formaldehyde Inst. v. Dep’t of Health & Human Servs., 889 F.2d 1118, 1121 (D.C. Cir. 1989),

quoting Taxation Without Representation v. IRS, 646 F.2d 666, 676 (D.C. Cir. 1981) (Exemption 5

encompasses “the protections traditionally afforded certain documents pursuant to evidentiary

privileges in the civil discovery context, including . . . the executive deliberative process

privilege.”).

           Here, the agency invoked the deliberative process privilege and the attorney-client

privilege, both of which fall under the ambit of Exemption 5. See Coastal States Gas Corp. v.

Dep’t of Energy, 617 F.2d 854, 862–63 (D.C. Cir. 1980); Elec. Frontier Found. v. U.S. Dep’t of Just.,

739 F.3d 1, 4 (D.C. Cir. 2014).

              A. Deliberative process privilege

           The deliberative process privilege “allows the government to withhold documents and

other materials that would reveal advisory opinions, recommendations and deliberations

comprising part of a process by which governmental decisions and policies are formulated.” In re

Sealed Case (“Espy”), 121 F.3d 729, 736–37 (D.C. Cir. 1997) (internal quotations omitted). The


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Supreme Court has explained that it “rests on the obvious realization that officials will not

communicate candidly among themselves if each remark is a potential item of discovery,” and its

purpose “is to enhance ‘the quality of agency decisions’ by protecting open and frank discussion

among those who make them within the Government.” Klamath, 532 U.S. at 8–9, quoting NLRB

v. Sears, Roebuck & Co., 421 U.S. 132, 151 (1975).

       To accomplish that goal, “[t]he deliberative process privilege protects agency documents

that are both predecisional and deliberative.” Judicial Watch, Inc. v. FDA, 449 F.3d 141, 151

(D.C. Cir. 2006), citing Coastal States, 617 F.2d at 866.

               Both requirements stem from the privilege’s “ultimate purpose[, which] . . .
               is to prevent injury to the quality of agency decisions” by allowing
               government officials freedom to debate alternative approaches in private.
               The deliberative process privilege does not shield documents that simply
               state or explain a decision the government has already made or protect
               material that is purely factual, unless the material is so inextricably
               intertwined with the deliberative sections of documents that its disclosure
               would inevitably reveal the government’s deliberations.

Espy, 121 F.3d at 737 (citations omitted).

        A document is predecisional if “‘it was generated before the adoption of an agency policy’

and deliberative if ‘it reflects the give-and-take of the consultative process.’” Judicial Watch,

Inc., 449 F.3d at 151, quoting Coastal States, 617 F.2d at 866. In other words, a “‘predecisional’

document is one ‘prepared in order to assist an agency decisionmaker in arriving at his decision.’”

Formaldehyde Inst., 889 F.2d at 1122, quoting Renegotiation Bd. v. Grumman Aircraft Eng’g

Corp., 421 U.S. 168, 184 (1975).

       When analyzing whether materials are covered by the privilege, a “court must first be able

to pinpoint an agency decision or policy to which these documents contributed.” Paisley v. CIA,

712 F.2d 686, 698 (D.C. Cir. 1983). “The agency bears the burden of establishing the character

of the decision, the deliberative process involved, and the role played by the documents in the

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course of that process.” Id.; see also Coastal States, 617 F.2d at 868 (The burden is on the agency

to establish “what deliberative process is involved, and the role played by the documents in issue

in the course of that process.”). If the documents in question “are not a part of a clear ‘process’

leading to a final decision on the issue . . . they are less likely to be properly characterized as

predecisional.” Coastal States, 617 F.2d at 868, citing Vaughn v. Rosen, 523 F.2d 1136, 1146

(D.C. Cir. 1975). 9

       With respect to the “deliberative” prong of the test, the exemption “protects not only

communications which are themselves deliberative in nature, but all communications which, if

revealed, would expose to public view the deliberative process of an agency.” Russell v. Dep’t of

the Air Force, 682 F.2d 1045, 1048 (D.C. Cir. 1982), citing Montrose Chem. Corp. of Cal. v. Train,

491 F.2d 63 (D.C. Cir. 1974).

           B. The attorney-client privilege

       It is also well-settled that Exemption 5 embraces the attorney-client privilege. See Mead

Data Cent., Inc. v. U.S. Dep’t of Air Force, 566 F.2d 242, 252 (D.C. Cir. 1977) (The D.C. Circuit

has “agree[d] that attorney-client privilege has a proper role to play in exemption five cases.”);

see also Coastal States, 617 F.2d at 862 (“The courts have recognized that Exemption 5 protects,

as a general rule, material which would be protected under the attorney-client privilege . . . .”).




9       As the Supreme Court has recognized, “[a]gencies are, and properly should be, engaged in
a continuing process of examining their policies; this process will generate memoranda containing
recommendations which do not ripen into agency decisions . . . .” Sears, 421 U.S. at 151 n.18.
For that reason, it is not necessary that an internal discussion lead to the adoption of a specific
government policy or a discrete decision; “its protection under Exemption 5 is not foreclosed as
long as the document was generated as part of a definable decision-making process.” Gold
Anti-Tr. Action Comm., Inc. v. Bd. of Governors of Fed. Rsrv. Sys., 762 F. Supp. 2d 123, 136
(D.D.C. 2011).
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       “The attorney-client privilege protects confidential communications from clients to their

attorneys made for the purpose of securing legal advice or services.”                  Tax Analysts

v. IRS, 117 F.3d 607, 618 (D.C. Cir. 1997), citing In re Sealed Case, 737 F.2d 94, 98–99

(D.C. Cir. 1984). “Its purpose is to encourage full and frank communication between attorneys

and their clients and thereby promote broader public interests in the observance of law and

administration of justice.” Upjohn Co. v. United States, 449 U.S. 383, 389 (1981). The privilege also

protects communications that flow from attorneys to their clients, but only if the communications

are based, at least in part, on confidential information obtained from the client. In re Sealed Case,

737 F.2d at 98–99; see also Mead Data Cent., 566 F.2d at 254. The D.C. Circuit has emphasized

that it is the claimant’s burden “to present to the court sufficient facts to establish the privilege;

the claimant must demonstrate with reasonable certainty . . . that the lawyer’s communication

rested in significant and inseparable part on the client’s confidential disclosure.” In re Sealed

Case, 737 F.2d at 99 (internal quotations omitted).

       These principles are not limited to lawyers representing private individuals or entities, but

they apply to those who work in the public sector as well. In the governmental context, the “client”

may be a government official or agency, “and the attorney may be an agency lawyer.” Tax

Analysts, 117 F.3d at 618. And those attorneys may communicate among themselves;

“the [attorney-client] privilege is not lost because an attorney consults other attorneys about the

subject matter of the communication.” Mead Data Cent., 566 F.2d at 253, n.24.

       But the mere fact that the communication involves a member of the bar does not end the

inquiry. See Mead Data Cent., 566 F.2d at 253 (“The privilege does not allow the withholding

of documents simply because they are the product of an attorney-client relationship . . . .”).

For instance, the privilege does not extend to a “government attorney’s ‘advice on political,



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strategic, or policy issues, valuable as it may [be].’” Judicial Watch, Inc. v. U.S. Dep’t of

Homeland Sec., 926 F. Supp. 2d 121, 144–45 (D.D.C. 2013), quoting In re Lindsey,

148 F.3d 1100, 1106 (D.C. Cir. 1998). And, where an agency lawyer serves in a mixed capacity

that includes responsibilities that fall both within and “outside the lawyer’s sphere,” that lawyer’s

advice will be protected only to the extent that the lawyer offered it in their professional, legal

capacity. In re Sealed Case, 737 F.2d at 99. As another court in this district explained, to invoke

the privilege, the Department of Justice must establish that securing legal advice was a “primary

purpose” of the communication in question. Cause of Action Inst. v. United States Dep’t of Just.,

330 F. Supp. 3d 336, 347 (D.D.C. 2018); see also id., quoting Campbell, 164 F.3d at 30 (“[T]he

burden rests with the Government to prove, through ‘detailed and specific information,’ that the

withheld information falls within the domain of the privilege.”). Finally, “[l]ike all privileges . . .

the attorney-client privilege is narrowly construed and is limited to those situations in which its

purposes will be served. Coastal States, 617 F.2d at 862.

                                            ANALYSIS

        With that legal backdrop in mind, the Court reviewed the declarations submitted by the

government in this case, the pleadings, and the two documents themselves in camera. Since its

decision rests in part on the content of one of the documents, the portions of the opinion that refer

directly to withheld material will be sealed pending further order of the Court, and a redacted

version will be made available on the public docket.

   I.      Document 6 was properly withheld.

        According to the Colborn declaration, “[t]he principal function of the OLC is to assist and

advise the Attorney General in his role as legal advisor to the President of the United States and to

departments and agencies of the Executive Branch.” Colborn Decl. ¶ 2. OLC does not make


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policy decisions; it “provides advice and prepares opinions addressing a wide range of legal

questions,” id., and “OLC legal advice in all its forms is generally kept confidential.” Id. ¶ 3.

         Colborn describes Document 6 as an “untitled, undated draft legal analysis,” prepared by

Steven A. Engel, an Assistant Attorney General within the Office of Legal Counsel, “for his use

in providing legal advice within the Department of Justice.” Colborn Decl. ¶ 16. Colborn adds

that “[t]he document contains OLC legal advice and analysis, and also contains confidential client

information and descriptions of Department of Justice deliberations.” Id. He avers that the record

is covered by the deliberative process privilege “because it was legal analysis submitted to the

Attorney General as part of his decisionmaking.” Id. ¶ 20.

         While these vague references to “decisionmaking” and “deliberations” did little to establish

the first element of the deliberative process privilege, the in camera review of the record revealed

that there was a particular, immediate decision under review to which the document pertained, that

it also addressed another specific issue that was likely to arise as a consequence of the

determination made with respect to the first, and that the entire memorandum was deliberative

with respect to those decisions. The Court therefore finds that it was properly withheld under

Exemption 5 and the deliberative process privilege. 10

   II.      Document 15 must be released.

         The unredacted portion of Document 15 that was disclosed to the plaintiff reveals this much

about its nature and contents:




10      For that reason, the Court need not reach the question of whether the memorandum, which
did consist of legal analysis by an attorney at the Office of Legal Counsel, may be withheld under
the attorney-client privilege.
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  A. Defendant has not met its burden to justify withholding under the deliberative
     process privilege.

       The memorandum is largely deliberative. But the Court cannot find the record to be

“predecisional,” because the materials in the record, including the memorandum itself, contradict

the FOIA declarants’ assertions that the decision-making process they have identified was in fact

underway. Moreover, the record supplies reason to question whether the communication preceded

any decision that was made.

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       Paul Colborn, the Special Counsel in the OLC, states:

              I am personally familiar with the withheld documents at issue in this case.

                                                  ***

              Document no. 15 is a predecisional deliberative memorandum to the
              Attorney General, through the Deputy Attorney General, authored by OLC
              AAG Engel and Principal Associate Deputy Attorney General (“PADAG”)
              Edward O’Callaghan . . . . As indicated in the portions of the memorandum
              that were released, it was submitted to the Attorney General to assist
              him in determining whether the facts set forth in Volume II of Special
              Counsel Mueller’s report “would support initiating or declining the
              prosecution of the President for obstruction of justice under the
              Principles of Federal Prosecution.” The released portions also indicate
              that the memorandum contains the authors’ recommendation in favor of a
              conclusion that “the evidence developed by the Special Counsel’s
              investigation is not sufficient to establish that the President committed an
              obstruction-of-justice offense.” The withheld portions of the memorandum
              contain legal advice and prosecutorial deliberations in support of that
              recommendation. Following receipt of the memorandum, the Attorney
              General announced his decision publicly in a letter to the House and
              Senate Judiciary Committees . . . .

                                                  ***

              [T]he withheld portions of document no. 15 – the only final document at
              issue – are . . . covered by the deliberative process privilege. The document
              is a predecisional memorandum, submitted by senior officials of the
              Department to the Attorney General, and containing advice and analysis
              supporting a recommendation regarding the decision he was
              considering . . . . [T]he withheld material is protected by the privilege
              because it consists of candid advice and analysis by the authors, OLC AAG
              Engel and the senior deputy to the Deputy Attorney General. That advice
              and analysis is predecisional because it was provided prior to the
              Attorney General’s decision in the matter, and it is deliberative because
              it consists of advice and analysis to assist the Attorney General in making
              that decision . . . . The limited factual material contained in the withheld
              portion of the document is closely intertwined with that advice and analysis.

Colborn Decl. ¶¶ 13, 17, 21 (emphasis added).

       The Brinkmann declaration reveals that as Senior Counsel in the DOJ Office of

Information Policy, she is responsible for supervising the handling of the FOIA requests.



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Brinkmann Decl. ¶ 1. She does not claim to have any personal knowledge of why the document

was created or what its purpose might be, and while she states generally at the beginning of the

declaration that she consulted with “knowledgeable Department personnel,” she does not state that

she spoke with any particular person to gain first hand information about the provenance of this

document. Id. ¶ 3. Instead, she appears to rely on her review of the document itself to make the

following unattributed pronouncements about the decision that is supposedly at issue:

              While the March 2019 Memorandum is a “final” document (as opposed to
              a “draft” document), the memorandum as a whole contains pre-decisional
              recommendations and advice solicited by the Attorney General and
              provided by OLC and PADAG O’Callaghan. The material that has been
              withheld within this memorandum consists of OLC’s and the PADAG’s
              candid analysis and legal advice to the Attorney General, which was
              provided to the Attorney General prior to his final decision on the matter.
              It is therefore pre-decisional. The same material is also deliberative, as it
              was provided to aid in the Attorney General’s decision-making process
              as it relates to the findings of the SCO investigation, and specifically as it
              relates to whether the evidence developed by SCO’s investigation is
              sufficient to establish that the President committed an obstruction-of-
              justice offense. This legal question is one that the Special Counsel’s
              “Report On The Investigation Into Russian Interference In The 2016
              Presidential Election” . . . did not resolve. As such, any determination
              as to whether the President committed an obstruction-of-justice offense
              was left to the purview of the Attorney General.

Brinkmann Decl. ¶ 11 (emphasis added).

       CREW had difficulty swallowing this explanation.

              DOJ’s . . . arguments rest on the demonstrably false proposition that the
              memo was submitted to the Attorney General to assist him in making a
              legitimate decision on whether to initiate or decline prosecution of the
              President for obstructing justice . . . . [H]owever, the Special Counsel
              already had made final prosecutorial judgments and the time for the
              Attorney General to challenge those judgments had passed. Whatever the
              contents of the March 24, 2019 OLC memo, it was not part of a deliberation
              about whether or not to prosecute the President.

Pl.’s Mem. in Supp. of Cross Mot. [Dkt. # 17-1] (“Pl.’s Mem.”) at 15–16; see also id. at 15 (“The

absence of a pending decision for the Attorney General to make necessarily means the memo did

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not make a recommendation or express an opinion on a legitimate legal or policy matter. Instead,

it was part of a larger campaign initiated by Attorney General Barr to undermine the Special

Counsel’s report and rehabilitate the President . . . .”).

        What the Court can say without revealing the content of the redacted material is that there

were two sections to this memorandum. Section I offers strategic, as opposed to legal advice,

about whether the Attorney General should take a particular course of action, and it made

recommendations with respect to that determination, a subject that the agency omitted entirely

from its description of the document or the justification for its withholding. This is a problem

because Section I is what places Section II and the only topic the agency does identify – that is,

whether the evidence gathered by the Special Counsel would amount to obstruction of justice –

into its proper context. Moreover, the redacted portions of Section I reveal that both the authors

and the recipient of the memorandum had a shared understanding concerning whether prosecuting

the President was a matter to be considered at all. In other words, the review of the document

reveals that the Attorney General was not then engaged in making a decision about whether the

President should be charged with obstruction of justice; the fact that he would not be prosecuted

was a given. The omission of any reference to Section I in the agency declarations, coupled with

the agency’s redaction of critical caveats from what it did disclose, served to obscure the true

purpose of the memorandum. Thus, the Court’s in camera review leads to the conclusion that the

agency has fallen far short of meeting its burden to show that the memorandum was “prepared in

order to assist an agency decisionmaker in arriving at his decision.”        Formaldehyde Inst.,

889 F.2d at 1122.

        What follows is a discussion of the memorandum in its entirety.




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                 DOJ made a strategic decision to pretend as if the first portion of the
memorandum was not there


        The Court is under no obligation to assess the applicability of a privilege on a ground the
agency declined to assert; the D.C. Circuit has stated that while in camera review is permissible,
it should be reserved for those cases when it truly necessary, and for that reason, “it ‘is not a
substitute’ for the government’s obligation to justify its withholding in publicly available and
debatable documents.” Schiller, 964 F.2d at 1209, quoting Lykins v. U.S. Dep’t of Just.,
725 F.2d 1455, 1463 (D.C. Cir. 1984). “We expect agencies to ensure that their submissions in
FOIA cases are absolutely accurate.” Id.
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       All of this contradicts the declarant’s ipse dixit that since the Special Counsel did not

resolve the question of whether the evidence would support a prosecution, “[a]s such, any

determination as to whether the President committed an obstruction-of-justice offense was left to

the purview of the Attorney General.” Brinkmann Decl. ¶ 11. It also calls into question the

accuracy of Attorney General Barr’s March 24 representation to Congress:             “The Special

Counsel’s decision to describe the facts of his obstruction investigation without reaching any legal

conclusions leaves it to the Attorney General to determine whether the conduct described in the

report constitutes a crime.” March 24 Letter at 3. 12



12      It is true that the Special Counsel “determined not to make a traditional prosecutorial
judgment.” Report, Volume II, at 1. What the Attorney General neglected to say, though, was
that while the Special Counsel accepted “for the purpose of exercising prosecutorial jurisdiction”
the 2000 opinion of the Office of Legal Counsel that that the indictment or criminal prosecution
of a sitting President would be unconstitutional, and apart from that, he also “recognized that a
federal criminal accusation against a sitting President would place burdens on the President’s
capacity to govern and potentially preempt constitutional processes for addressing presidential
misconduct,” Report, Volume II, at 1, he did not leave the matter there. Instead, the Special
Counsel specifically informed the Attorney General:

               [I]f we had confidence after a thorough investigation of the facts that the
               President clearly did not commit obstruction of justice, we would so state.
               Based on the facts and the applicable legal standards, however, we are
               unable to reach that judgment. The evidence we obtained about the
               President’s actions and intent presents difficult issues that prevent us from
               conclusively determining that no criminal conduct occurred. Accordingly,
               while this report does not conclude that the President committed a crime, it
               also does not exonerate him.
                                                                   Footnote continues on next page.
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       And the in camera review of the document, which DOJ strongly resisted, see Def.’s Opp.

to Pl.’s Cross Mot. [Dkt. # 19] (“Def.’s Opp.”) at 20–22 (“In Camera Review is Unwarranted and

Unnecessary”), raises serious questions about how the Department of Justice could make this

series of representations to a court in support of its 2020 motion for summary judgment:

               [T]he March 2019 Memorandum (Document no. 15), which was released
               in part to Plaintiff is a pre-decisional, deliberative memorandum to the
               Attorney General from OLC AAG Engel and PADAG Edward O’Callaghan
               . . . . The document contains their candid analysis and advice provided to
               the Attorney General prior to his final decision on the issue addressed in the
               memorandum – whether the facts recited in Volume II of the Special
               Counsel’s Report would support initiating or declining the prosecution of
               the President . . . . It was provided to aid in the Attorney General’s decision-
               making processes as it relates to the findings of the Special Counsel’s
               investigation . . . . Moreover, because any determination as to whether the
               President committed an obstruction-of-justice offense was left to the
               purview of the Attorney General, the memorandum is clearly pre-
               decisional.

Def.’s Mem. in Supp. of Mot. [Dkt. # 15-2] (“Def.’s Mem.”) at 14–15 (internal quotations,

brackets, and citations omitted). 13




Id. at 2; see also id., Conclusion, at 182 (“[I]f we had confidence after a thorough investigation of
the facts that the President clearly did not commit obstruction of justice, we would so state. Based
on the facts and the applicable legal standards, we are unable to reach that judgment.”); see also
id., Section III (B)(2), at 168–69 (finding that the separation of powers concerns that might pose a
constitutional impediment to a criminal prosecution did not apply to Congress: “Congress can
validly regulate the President’s exercise of official duties to prohibit actions motivated by a corrupt
intent to obstruct justice.”). This cannot be easily squared with the assurances the Attorney
General transmitted to Congress in March of 2019 instead of the report itself. See Elec. Priv. Info.
Ctr. v. U.S. Dep’t of Just. (“EPIC”), 442 F. Supp. 3d 37, 49 (D.D.C. 2020) (“[A] review of the
redacted version of the Mueller Report by the Court results in the Court’s concurrence with Special
Counsel Mueller’s assessment that Attorney General Barr distorted the findings in the Mueller
Report.”).

13      The flourish added in the government’s pleading that did not come from either declaration
– “PADAG O’Callaghan had been directly involved in supervising the Special Counsel’s
investigation and related prosecutorial decisions; as a result, in that capacity, his candid
prosecutorial recommendations to the Attorney General were especially valuable.” Id. at 14 –
seems especially unhelpful since there was no prosecutorial decision on the table.
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      In sum, while CREW had never laid eyes on the document, its summary was considerably

more accurate than the one supplied by the Department’s declarants.

       As noted above, summary judgment may be granted on the basis of agency affidavits in

FOIA cases, when “they are not called into question by contradictory evidence in the record or by

evidence of agency bad faith.” Judicial Watch, Inc., 726 F.3d at 215, quoting Consumer Fed’n,

455 F.3d at 287.

       But here, we have both. Another court in this district has expressed “grave concerns about

the objectivity of the process that preceded the public release of the redacted version of the Mueller

Report.” EPIC, 442 F. Supp. 3d at 48. The district court in the EPIC case undertook a close




14       This effort was not without consequences. As the Special Counsel noted in his March 27
letter to the Attorney General, the “public confusion about critical aspects of the results of [his]
investigation” that Attorney General Barr’s March 24 letter had caused “threaten[ed] to undermine
a central purpose for which” DOJ had appointed him: “to assure full public confidence in the
outcome of the investigation.” March 27 Letter at 1.
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comparison of the Attorney General’s March 24 pronouncements and the redacted version of the

Special Counsel’s Report that had by then been released, and the process left him uneasy.

               Although Attorney General Barr can be commended for his effort to
               expeditiously release a summary of Special Counsel Mueller’s principal
               conclusions in the public interest, the Court is troubled by his hurried release
               of his March 24, 2019 letter well in advance of when the redacted version
               of the Mueller Report was ultimately made available to the public. The
               speed by which Attorney General Barr released to the public the summary
               of Special Counsel Mueller’s principal conclusions, coupled with the fact
               that Attorney General Barr failed to provide a thorough representation of
               the findings set forth in the Mueller Report, causes the Court to question
               whether Attorney General Barr’s intent was to create a one-sided narrative
               about the Mueller Report – a narrative that is clearly in some respects
               substantively at odds with the redacted version of the Mueller Report.

Id. at 49.

       And of even greater importance to this decision, the affidavits are so inconsistent with

evidence in the record, they are not worthy of credence. The review of the unredacted document

in camera reveals that the suspicions voiced by the judge in EPIC and the plaintiff here were

well-founded, and that not only was the Attorney General being disingenuous then, but DOJ has

been disingenuous to this Court with respect to the existence of a decision-making process that

should be shielded by the deliberative process privilege. The agency’s redactions and incomplete

explanations obfuscate the true purpose of the memorandum, and the excised portions belie the

notion that it fell to the Attorney General to make a prosecution decision or that any such decision

was on the table at any time.




       There is also a problem with the “pre” portion of “pre-decisional.”

       The D.C. Circuit’s opinion in Paisley, which remanded a case in which judgment had been

entered in favor of the government, teaches that a court should be able “to ascertain whether the

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disputed documents played any role” in the decision the government identified. 712 F.2d at 698.

Here, the declarations state that Attorney General Barr made the determination he communicated

to Congress based on the advice contained in the memo. See Brinkmann Decl. ¶ 11. But even

with their significant redactions, the contemporaneous emails that were produced to CREW by the

government in response to its FOIA request tell a different story, and this assertion in the

declarations is inconsistent with the actual chronology.

       In its summary judgment pleading, CREW directs the Court’s attention to its Exhibit A,

which contains the series of emails produced by the defendant in response to the FOIA request that

relate to the creation of the March 24 letter to Congress and the March 24 memorandum to Barr.

While any drafts or proposed additions or revisions that were transmitted have been completely

redacted from the emails, one can discern from the skeletal remains when the emails were written,

who sent them to whom, and to which draft document they refer. See Ex. A to Pl.’s Opp. to Def’s

Mot. [Dkt. # 16-1]. 15

       CREW points out that the letter to Congressional leaders and the memorandum to the

Attorney General were being drafted simultaneously, and based on the email traffic, it argues:

               Far from providing the Attorney General with a formal legal opinion based
               on its own analysis, OLC drafted the memorandum with significant input
               from the Deputy Attorney General and others in his office. See Exhibit A,
               pp. 10–20, 35–37. OLC also played an active role in editing the letter the
               Attorney General was preparing for Congress. Id. at 21–34. The two
               offices were working in tandem to create a narrative to counter the Special
               Counsel’s findings and cast the President in the most positive light possible.

Pl.’s Mem. at 15.




15      The same exhibit was filed in support of Plaintiff’s Cross-Motion for Summary Judgment.
[Dkt. # 17-2].
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       The Court has created a chart listing all of the emails in chronological order. It is attached

to this opinion as Attachment 1 and incorporated in the opinion as part of the Court’s factual

findings. The emails are exchanged among Stephen A. Engel, an Assistant Attorney General in

the Office of Legal Counsel; Brian C. Rabbitt, the Chief of Staff in the Office of the Attorney

General; Rod Rosenstein, the Deputy Attorney General; and Edward C. O’Callaghan, the

Principal Associate Deputy Attorney General, and at least one is copied to another person in OLC:

Henry C. Whitaker (OLC).

      A close review of the communications reveals that the March 24 letter to Congress

describing the Special Counsel’s report, which assesses the strength of an obstruction-of-justice

case, and the “predecisional” March 24 memorandum advising the Attorney General that

                                                   the evidence does not support a prosecution, are

being written by the very same people at the very same time. The emails show not only that the

authors and the recipients of the memorandum are working hand in hand to craft the advice that is

supposedly being delivered by OLC, but that the letter to Congress is the priority, and it is getting

completed first. At 2:16 pm on Sunday, March 24, the Attorney General’s Chief of Staff advises

the others: “We need to go final at 2:25 pm,” and Rod Rosenstein, the Deputy Attorney General,

summons everyone to a meeting at 2:17 pm. Attachment 1 at 4. At 2:18 pm, Steven Engel in the

OLC replies to this email chain related to the draft letter, and he attaches the latest version of the

memo to the Attorney General, saying: “here’s the latest memo, btw, although we presumably

don’t need to finalize that as soon.” Id.; see also id. at 6 (finalizing the letter just before 5:00 pm

on March 24 and the memorandum just before 9:00 am on March 25). In sum, the set of emails

contained in plaintiff’s Exhibit A undermines the uninformed assertions in the declarations upon

which the defense relies.



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       For all of these reasons, the Court finds that the document is not predecisional, and it may

not be withheld under Exemption 5 on the basis of the deliberative process privilege. 16 This

finding requires the Court to go on to the other basis for withholding proffered by the declarants:

the attorney-client privilege.

  B. The defendant has not met its burden to establish the applicability of the
     attorney-client privilege.

       The DOJ declarant ties the attorney-client privilege directly to the decision she claimed

was being made in the context of the deliberative process privilege:

               All of the information contained within the March 2019 Memorandum,
               but withheld from release to Plaintiff is also withheld pursuant to the
               attorney-client privilege of Exemption 5. The role of OLC attorneys
               includes providing “opinions to the Attorney General . . . on questions of
               law arising in the administration of the Department.” 25 C.F.R. § 0.25(c).
               In this capacity, OLC attorneys and the Attorney General maintain an
               attorney-client relationship. As described supra ¶ 7, the March 2019
               Memorandum contains OLC’s and the PADAG’s legal analysis and advice
               solicited by the Attorney General and shared in the course of providing
               confidential legal advice to the Attorney General. As such, OIP has
               determined that the attorney-client privilege, in addition to the deliberative
               process privilege, applies to the withheld portions of the March 2019
               Memorandum.




16      In light of this finding, the Court need not assess the sufficiency of agency’s showing
concerning the reasonably foreseeable harm that could flow from the production of the record
under 5 U.S.C. § 552(a)(8)(A). It notes, though, that the Colborn declaration did little to comply
with that provision. He stated that disclosure “would compromise the deliberative processes of
the Executive Branch – in this case, of the Attorney General and his senior advisers deliberating
over an extremely high-profile prosecutorial matter and the related public statements to be made
about that matter,” Colborn Decl. ¶ 23, but this merely recites the elements of the privilege. This
sentence was the only time either declarant even hinted that the document had something to do
with the Attorney General’s “public statements,” but given the agency’s failure to acknowledge
the nature of the decision-making process that was actually going on, the declaration did little to
provide “context or insight into the specific decision-making processes or deliberations at issue,
and how they in particular would be harmed by disclosure” of the contested records. See Judicial
Watch, Inc., 2019 WL 4644029, at *5.

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Brinkmann Decl. ¶ 16. 17

       The Colborn declaration avers:

               All of the documents at issue are also protected by the attorney-client
               privilege. The documents were prepared or revised by OLC attorneys in the
               course of carrying out OLC’s role of legal adviser to the Attorney General
               and the Department of Justice. See 25 C.F.R. § 0.25(c) (it is OLC’s
               responsibility to provide “opinions to the Attorney General and to the heads
               of the various organizational units of the Department on questions of law
               arising in the administration of the Department”). In that capacity, OLC
               attorneys maintain an attorney-client relationship with the Attorney General
               and other officials requiring legal advice from OLC, similar to the
               attorney-client relationship that the lawyers in the Office of General
               Counsel of any other agency have with the agency head and other officials.
               The factual material provided to OLC in this capacity is provided for
               purposes of developing this confidential legal advice. Having been asked
               to provide legal advice, OLC attorneys stood in a special relationship of
               trust with the Attorney General and his staff, as well as other Department
               officials. Just as disclosure of client confidences in the course of seeking
               legal advice would seriously disrupt the relationship of trust so critical when
               attorneys formulate legal advice to their clients, so too would disclosure of
               the legal advice itself undermine that trust.

Colborn Decl. ¶ 22.

       The declarants emphasize that the OLC plays the unique role of “lawyers’ lawyer” within

the Department of Justice and the executive branch as a whole, and the Court of Appeals has

acknowledged that those lawyers can be differentiated from other government employees with law

degrees. See, e.g., CREW v. U.S. Dep’t of Justice, 846 F. 3d 1235, 1238 (D.C. Cir. 2017) (“For

decades, [OLC] has been the most significant centralized source of legal advice within the



17      Plaintiff resists the application of the attorney-client privilege for reasons similar to the
objections it raised with respect to the deliberative process privilege. “[T]he March 24 memo was
not prepared for the purpose of providing legal advice on the sufficiency of the evidence in the
Special Counsel Report to support prosecuting the President for obstruction of justice, as DOJ
claims . . . . To the contrary, that decision, entrusted to the Special Counsel, already had been
made and left undisturbed by the Attorney General.” Pl.’s Mem. at 19. According to CREW,
“OLC’s views were instead sought to assist Attorney General Barr in making a political or strategic
decision about how to ‘spin’ the report in a way that placed President Trump in the best light
possible, while undermining any contrary conclusion the Special Counsel had reached.” Id.
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Executive Branch . . . . Indeed, executive-branch officials seek OLC’s opinion on some of the

weightiest matters in our public life.”) (internal quotations omitted). Other courts in this district

have therefore recognized, based on similar declarations, that OLC opinions may be protected by

the attorney-client privilege. See, e.g., Nat’l Sec. Counselors v. CIA, 960 F. Supp. 2d 101, 196

(D.D.C. 2013); CREW v. U.S. Dep’t of Just., 298 F. Supp. 3d 151, 155 (D.D.C. 2018). But it is a

decision to be made on a case-by-case basis, and all of the prerequisites for the applicability of the

privilege must be established.       CREW v. Off. of Admin., 249 F.R.D. 1, 4 (D.D.C. 2008)

(holding that because an OLC memorandum did not rest upon confidential information obtained

from the agency involved, but rather, basic factual information, it was not covered by the

attorney-client privilege, even though it was appropriately withheld under the deliberative process

privilege).

        Given the fact that the review of the document in camera reveals that there was no decision

actually being made as to whether the then-President should be prosecuted,

                                                                  the Court is not persuaded that the

agency has met its burden to demonstrate that the memorandum was transmitted for the purpose

of providing legal advice, as opposed to the strategic and policy advice that falls outside the scope

of the privilege. Section I of the memo, which was entirely redacted with no separate justification,

contains no legal advice at all, but it offers only strategic                               advice, so

this explanation is entirely deficient to justify the withholding of that portion of the document.

        Section II is a blend of legal and strategic advice prepared, at least in part, and reviewed in

its entirety, by an attorney within the OLC. However, since the memorandum was being written

at the same time and by the same people who were drafting the Attorney General’s letter to

Congress setting forth his views on the basis for a prosecution, and the record reflects that the



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priority was to get the letter completed first, see Attachment 1, one simply cannot credit the

declarant’s statement that the Attorney General made the “decision” he announced based on the

advice the memo contains. Brinkmann states:

               The material that has been withheld within this memorandum consists of
               OLC’s and the PADAG’s candid analysis and legal advice to the Attorney
               General, which was provided to the Attorney General prior to his final
               decision on the matter.

Brinkmann Decl. ¶ 11; see also Def.’s Mem. at 14 (The document contains “candid analysis and

advice provided to the Attorney General prior to his final decision on the issue addressed in the

memorandum – whether the facts recited in Volume II of the Special Counsel’s Report would

support initiating or declining the prosecution of the President.”) (internal quotations omitted).

Along with the redacted portions of the memorandum, the chronology undermines the assertion

that the authors were engaged in providing their legal advice in connection with any sort of pending

prosecutorial decision, and this misrepresentation, combined with the lack of candor about what

any legal advice provided was for or about, frees the Court from the deference that is ordinarily

accorded to agency declarations in FOIA cases. 18

       There are also other problems with the agency’s showing.

       While the memorandum was crafted to be “from” Steven Engel in OLC, whom the

declarant has sufficiently explained was acting as a legal advisor to the Department at the time, it

also is transmitted “from” Edward O’Callaghan, identified as the Principal Associate Deputy

Attorney General. The declarants do not assert that his job description included providing legal




18     There is no need for the Court to determine what its ruling would have been had the agency
candidly informed it that the purpose of the document

                                                           It is the government’s burden to support
its withholdings.
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advice to the Attorney General or to anyone else; Colborn does not mention him at all, and

Brinkmann simply posits, without reference to any source for this information, that the memo

“contains OLC’s and the PADAG’s legal analysis and advice solicited by the Attorney General

and shared in the course of providing confidential legal advice to the Attorney General.”

Brinkmann Decl. ¶ 16. 19

        The declarations are also silent about the roles played by the others who were equally

involved in the creation and revision of the memo that would support the assessment they had

already decided would be announced in the letter to Congress. They include the Attorney

General’s own Chief of Staff and the Deputy Attorney General himself, see Attachment 1, and

there has been no effort made to apply the unique set of requirements that pertain when asserting

the attorney-client privilege over communications by government lawyers to them. Therefore,

even though Engel was operating in a legal capacity, and Section II of the memorandum includes

legal analysis in its assessment of the strengths and weaknesses of the purely hypothetical case,

the agency has not met its burden to establish that the second portion of the memo is covered by

the attorney-client privilege.

       The government’s failure to meet its burden to establish the legal grounds for its invocation

of the two privileges asserted means that the record must be produced.                See Schiller,

964 F.2d at 1209 (D.C. Cir. 1992) (when courts conduct in camera review and find that the

claimed FOIA exemptions were improper, the proper remedy is to order their disclosure); see also

Am. Immigr. Council v. U.S. Dep’t of Homeland Sec., 905 F. Supp. 2d 206 (D.D.C. 2012) (ordering




19      The government’s memorandum adds that “PADAG O’Callaghan had been directly
involved in supervising the Special Counsel’s investigation and related prosecutorial decisions,”
Def.’s Mem. at 14, but that does not supply the information needed to enable the Court to
differentiate among the many people with law degrees working on the matter.
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disclosure of documents after in camera review demonstrated documents were improperly

withheld).

        The Court emphasizes that its decision turns upon the application of well-settled legal

principles to a unique set of circumstances that include the misleading and incomplete explanations

offered by the agency, the contemporaneous materials in the record, and the variance between the

Special Counsel’s report and the Attorney General’s summary. This opinion does not purport to

question or weaken the protections provided by Exemption 5 or the deliberative process and

attorney-client privileges; both remain available to be asserted by government agencies – based on

forthright and accurate factual showings – in the future.

                                           COUNT TWO

       Defendant asks the Court to dismiss Count Two for lack of jurisdiction under Federal Rule

of Civil Procedure 12(b)(1). Def.’s Mem. at 23–26.

       FOIA specifically provides that “[a] district court of the United States shall not have

jurisdiction to review an agency denial of expedited processing of a request for records after the

agency has provided a complete response to the request.” 5 U.S.C. § 552(a)(6)(E)(iv). The

declarations establish that the responses provided to plaintiff on May 22, 2020, by OLC, and on

June 17, 2020, by OIP constitute a complete response to the request as it was narrowed by

agreement of the parties. Therefore, there is nothing further for the Court to adjudicate. See, e.g.,

Muttitt v. Dep’t of State, 926 F. Supp. 2d 284, 296 (D.D.C. 2013) (“Based on Edmonds [v. FBI,

417 F.3d 1319, 1323–24 (D.C. Cir. 2005)] . . . an important question to ask in determining whether

a requester’s claim regarding the denial of a request for expedited processing is moot is what relief

the requester still has available if the denial is deemed incorrect.”).




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       CREW does not dispute this. It acknowledges in its opposition to the motion that while it

was denied the benefit of the expedition that it requested, “[u]nfortunately, the FOIA provides no

remedy for stale information.” Pl.’s Mem. at 21. It concludes that therefore, “the Court need not

rule on DOJ’s renewed motion to dismiss.” Id. It is not entirely clear what “not ruling” means,

particularly in light of CREW’s apparent concession that there is no role for the Court to play. But

in its reply, CREW raised the specter of future unsupported denials of requests for expedition, and

it urged the Court to “make clear that the reasoning of its earlier opinion denying DOJ’s motion to

dismiss accurately states the law on exhaustion and that DOJ still has not offered a ‘reasoned

decision’ to justify denying CREW expedition.” Pl.’s Reply in Supp. of Cross Mot. [Dkt. # 21]

(“Pl.’s Reply”) at 18.

       The FOIA provision divesting this Court of jurisdiction does not provide for the application

of the capable of repetition yet evading review exception to mootness, see Honeywell Intern., Inc.,

v. Nuclear Regulatory Comm’n., 628 F.3d 568, 577 (D.C. Cir. 2010); nor is it clear that the

prerequisites have been established. So the Court finds that Count Two is moot and should be

dismissed. It does not find it necessary to repeat itself to “make clear” that its earlier opinion was

“accurate;” that opinion is a matter of record just like this one.

                                          CONCLUSION

       For all of the reasons set forth above, the Court will grant both motions for summary

judgment in part and deny them in part. It will grant defendant’s motion and enter judgment in

favor of the defendant on Count One with respect to Document 6. But defendant’s motion will be

denied, and plaintiff’s motion will be granted with respect to Document 15, and DOJ will be

ordered to produce the document to CREW. Defendant’s renewed motion to dismiss Count Two

will be granted, and the claim will be dismissed.



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       Defendant must file any motion to stay by May 17, 2021, and it must inform the Court of

its position on whether this order may be unsealed at that time.




                                             _______________________
                                             AMY BERMAN JACKSON
                                             United States District Judge

DATE: May 3, 2021




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   Citizens for Responsibility and Ethics in Washington v. U.S. Dep’t of Justice, 19-cv-1552
                                       ATTACHMENT 1
    Summary of Emails Contained in Exhibit A to Plaintiff’s Opposition to Defendant’s
      Motion for Summary Judgment [Dkt. # 16-1] and Plaintiff’s Cross Motion for
                         Summary Judgment [Dkt. # 17-2]
Participants in the communications include: Stephen A. Engel, Assistant Attorney General, Office
of Legal Counsel (OLC); Brian C. Rabbitt, Chief of Staff, Office of the Attorney General (OAG); 1
Rod Rosenstein, the Deputy Attorney General; Edward C. O’Callaghan, Principal Associate
Deputy Attorney General, Office of the Deputy Attorney General (ODAG); and Henry C.
Whitaker (OLC).
   Emails re: 3/24/19 letter to        General emails            Emails re: 3/24/19 memo to
             Congress                (topic not specified)                AG Barr
 3/22/19 8:36 pm:
 Engel (OLC) to Rabbitt (OAG)
 re: “draft letter” with
 attachment: “2019.03.23 SC
 Second Notification DRAFT
 3-22 2030.docx”

 Engel emails “Here’s the
 latest.” Ex. A to Pl.’s Cross
 Mot. [Dkt. # 17-2] at 7.2
                                   3/22/19 7:01 pm:
                                   Rabbitt (OAG) emails
                                   “The AG and I plan to
                                   be here tomorrow” and
                                   the likely arrival time;
                                   Rosenstein (ODAG)
                                   replies that he’ll be
                                   there. pp. 8–9.




1       In communications from January 2019 that were included in the materials released to
plaintiff and provided to the Court as plaintiff’s Exhibit A, Rabbitt’s assignment was identified as
“OLP.” The January emails are not included in this chronology since it does not appear that the
letter being discussed on January 13, 2019 is the same document as the March 24 letter at issue
here. As of March 22, 2019, when the relevant communications begin, Rabbitt’s location is
identified as “OAG.” This chronology also does not include emails contained in Exhibit A that
post-date the completion of the memorandum at issue.

2    Page numbers refer to the CM/ECF numbers in Exhibit A to Plaintiff’s Cross Motion for
Summary Judgment. [Dkt. # 17-2]. Subsequent references will simply state the page.
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                                3/23/19 10:18 am:
                                Rabbitt to Rosenstein,
                                cc: Engel, advising,
                                “The AG, Steve and I
                                are here.” p. 8.
3/23/19 10:18 am:
Rosenstein writes, “We are
working on a draft letter.”
p. 8.
3/23/19 10:30 am:
Rabbit to Rosenstein,
cc: Engel and O’Callaghan
(ODAG): “I understand Steve
is as well, so we may want to
coordinate.” p. 8.
                                3/23/19 10:31 am:
                                Rosenstein responds:
                                “[Redacted], but how
                                about meeting with the
                                AG at 10:45 to discuss
                                process.” p. 8.
                                3/23/19 10:34 am:
                                Rabbitt to Rosenstein,
                                cc: Engel and
                                O’Callaghan:
                                “Great. We’re working
                                in the AG’s conference
                                room.” p. 8.
3/23/19 12:13 pm:
Engel emails Rabbitt with
attachment: “2019.03.23
Second Notification DRAFT
3-23 1000.docx.” p. 8.
                                                         3/23/19 7:52 pm:
                                                         Engel emails Rosenstein, Rabbitt,
                                                         O’Callaghan, Whitaker (OLC),
                                                         re: “draft memo” with attachment:
                                                         “AG Memo 3-23 1730.docx”

                                                         “Attached is the current draft of
                                                         the memo. I’ll probably take
                                                         another pass and recirculate . . . .
                                                         But for those with time and
                                                         interest to keep going now, feel
                                                         free to take a pass.” p. 10.


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                                                              3/23/19 11:44 pm:
                                                              Rabbitt to Rosenstein,
                                                              O’Callaghan, Whitaker, and Engel
                                                              transmits draft: “[T]houghts and
                                                              comments in the attached.” p. 11. 3
                                                              3/24/19 1:34 am:
                                                              Rosenstein to Rabbitt,
                                                              O’Callaghan, Whitaker, and Engel,
                                                              transmitting proposed edits on
                                                              multiple pages. pp. 11–12. 4
                                                              3/24/19 12:58 pm:
                                                              Engel emails Rosenstein, Rabbitt,
                                                              O’Callaghan, Whitaker, re: “draft
                                                              memo” with attachment: “AG
                                                              Memo 3-24 1300.docx”

                                                              “Attached is latest draft. This
                                                              should include all of the edits
                                                              received to date . . . . [I]n the
                                                              interest of time, thought it ripe to
                                                              recirculate.” p. 13.
                                                              3/24/19 1:01 pm:
                                                              Engel sends Rabbitt “the new
                                                              paragraph.” pp. 15–16.
                                                              3/24/19 1:03 pm:
                                                              Rabbitt asks Engel: “For the
                                                              memo, not the letter, correct?”
                                                              p. 15.
                                                              3/24/19 1:10 pm:
                                                              Engel responds to Rabbitt:
                                                              “correct[.]” p. 15.
                                                              3/24/19 1:40 pm:
                                                              Rosenstein sends email to Engel,
                                                              Rabbitt, cc: O’Callaghan,
                                                              Whitaker, re: “draft memo” saying
                                                              “Proposed edits.” p. 18.
                                                              3/24/19 1:52 pm:
                                                              Engel responds to all with edits:
                                                              “[Redacted]. What do you think
                                                              about this: [redacted].” p. 18.


3      The addressee line is not included, but it can be inferred from Engel’s response (“Thanks!”)
to Rosenstein’s message on March 24, 2019, at 1:34 am, responding to Rabbit. p. 11.

4       The addressee line is not included, but it can be inferred from Engel’s response (“Thanks!”)
to this message on March 24, 2019, at 7:57 am. p. 11.
                                                 3


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                                                3/24/19 1:59 pm:
                                                Rosenstein’s reply-all is redacted
                                                in its entirety. pp. 17–18.
                                                3/24/19 2:03 pm:
                                                Engel’s reply-all: “I take the point
                                                [redacted].” p. 17.
                                                3/24/19 2:08 pm:
                                                Rosenstein’s reply-all is redacted
                                                in its entirety. p. 17.
                                                3/24/19 2:09 pm:
                                                Engel’s reply-all: “done[.]” p. 17.
3/24/19 1:51 pm:
Rabbitt to O’Callaghan, Engel,
Rosenstein, Whitaker
re: “Draft Letter”: “Proposed
final draft attached. Please
review ASAP and respond
with edits.” p. 22.
3/24/19 2:05 pm:
Rosenstein’s reply-all
transmits a redacted edit for
page 2. p. 22.
3/24/19 2:08 pm:
Rabbitt’s reply-all: “Done.”
pp. 21–22.
3/24/19 2:11 pm:
Engel’s reply-all transmits a
redacted edit for page 1. p. 21.
3/24/19 2:16 pm:
Rabbitt’s reply-all: “We need
to go final at 2:25.” p. 21.
3/24/19 2:17 pm:
Rosenstein’s reply-all: “Let’s
meet now to review the final
version.” p. 21.
                                                3/24/19 2:18 pm:
                                                Engel responds to the Draft Letter
                                                chain with attachment: “AG Memo
                                                3-24 1300.docx”

                                                “OK. here’s the latest memo, btw,
                                                although we presumably don’t
                                                need to finalize that as soon.”
                                                p. 21.



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3/24/19 2:18 pm:
Rabbitt summons Rosenstein,
Engel, O’Callaghan, and
Whitaker to meeting at OAG
re: “Draft Letter.” p. 24.
3/24/19 3:18 pm:
Engel’s reply-all: “Attached is
the current version and a
compare to the prior version.”
p. 24.
3/24/19 3:46 pm:
Rosenstein’s reply-all:
“Proposed edits attached.”
pp. 24–25.
3/24/19 3:52 pm:
Engel’s reply-all: “Revised,
with Rod and my edits” and
added something of a
“quasi-substantive note.
[Redacted].”

“I’m ready to finalize, subject
to any remaining edits from
others.” p. 23.
3/24/19 4:07 pm:
O’Callaghan’s reply-all:
“Agree with DAG’s edits.
Some more included.” p. 23.
3/24/19 4:13 pm:
Engel’s reply-all is redacted in
its entirety. p. 23.
3/24/19 4:25 pm:
Engel responds to all on
O’Callaghan’s 4:07 pm email:
“Current draft, and here’s he
revised [redacted] paragraph.
If this looks good, I think we
can finalize.” pp. 26–27.
3/24/19 4:27 pm:
Engel’s reply-all: “tightened”
[redacted paragraph].” p. 26.
3/24/19 4:29 pm:
Rosenstein’s reply-all: “A few
proposed edits attached. How
about meeting at 4:45 to
finalize?” p. 26.

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3/24/19 4:33 pm:
Engel’s reply-all: “OK w me.
OAG conference room?”
p. 26.
3/24/19 4:29 pm:
O’Callaghan responds to all on
Engel’s 4:27 pm email:
“Suggested change [redacted].
Edit this: [redacted] To this:
[redacted].” p. 30.
3/24/19 4:31 pm:
O’Callaghan’s reply-all is
redacted in its entirety. p. 30.
3/24/19 4:36 pm:
Engel’s reply-all: “[Redacted]
in the letter.” p. 30.
                                                3/25/19 8:52 am:
                                                Rabbitt emails Engel, Rosenstein,
                                                O’Callaghan re: “2019.03.24 –
                                                Memorandum to AG from DAG re
                                                Mueller Report Review.pdf”:
                                                “All – For your records. OAG has
                                                retained the original and will file
                                                through our exec sec process.”
                                                pp. 35–36.

                                                Subsequent email exchange
                                                through 10:59 am concerns
                                                changes to incorrect year in date
                                                on front page. p. 35.




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
CITIZENS FOR RESPONSIBILITY         )
AND ETHICS IN WASHINGTON,           )
                                    )
                  Plaintiff,        )
                                    )              Civil Action No. 19-1552 (ABJ)
      v.                            )
                                    )
U.S. DEPARTMENT OF JUSTICE,         )
                                    )
                  Defendant.        )
____________________________________)


                                           ORDER

       Pursuant to Federal Rules of Civil Procedure 12, 56, and 58, and for the reasons stated in

the accompanying Memorandum Opinion, it is hereby ORDERED that:

       Defendant’s Motion for Summary Judgment [Dkt. # 15] is GRANTED IN PART and

plaintiff’s Cross Motion for Summary Judgment [Dkt. # 17] is DENIED IN PART, and judgment

is entered is favor of defendant on Count One with respect to Document 6; and

       Defendant’s Motion for Summary Judgment is DENIED IN PART and plaintiff’s Cross

Motion for Summary Judgment is GRANTED IN PART with respect to Document 15, and

defendant must produce Document 15 to plaintiff.

       It is FURTHER ORDERED that defendant’s renewed motion to dismiss [Dkt. # 15]

Count Two is GRANTED.




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        Defendant must file any motion to stay this order by May 17, 2021, and it must inform the

Court at that time of its position on whether the Memorandum Opinion may be unsealed in its

entirety.




                                             _______________________
                                             AMY BERMAN JACKSON
                                             United States District Judge



DATE: May 3, 2021




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